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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA


VALERIE ANDERSON, individually and
on behalf of all others similarly situated,       Case No. 23-cv-00533 (SRN/DTS)

                     Plaintiff,
v.


FORTRA LLC,
                     Defendant.


ROBERT TAYLOR, individually and on
behalf of all others similarly situated,          Case No. 23-cv-00539 (SRN/DTS)

                     Plaintiff,


v.
FORTRA LLC,
                     Defendant.


EDWARD HUBLER, individually and on
behalf of all others similarly situated,          Case No. 23-cv-00545 (SRN/DTS)

                     Plaintiff,
v.


FORTRA LLC,
                     Defendant.




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 MUHAMMAD ZAHID, individually and on
 behalf of all others similarly situated,           Case No. 23-cv-00615 (SRN/DTS)

                      Plaintiff,
 v.


 FORTRA LLC,
                      Defendant.


 ALAUNTAE BUTTS, et al., individually
 and on behalf of all others similarly situated,    Case No. 23-cv-00636 (SRN/DTS)

                      Plaintiff,
 v.


 FORTRA LLC,
                      Defendant.


                    PLAINTIFFS’ UNOPPOSED MOTION FOR
                    CONSOLIDATION OF RELATED ACTIONS

       Pursuant to Federal Rules of Civil Procedure 42(a) and Judicial Orders for

Reassignment of Related Cases, Plaintiffs in the above-captioned actions respectfully

move to consolidate five related putative class actions now pending before this Court:

           Anderson v. Fortra LLC, Case No. 23-cv-00533 (SRN/DTS) (D. Minn.) filed
            on March 6, 2023;

           Taylor v. Fortra LLC, Case No. 23-cv-00539 (SRN/DTS) (D. Minn.) filed
            on March 6, 2023

           Hubler v. Fortra LLC, Case No. 23-cv-00545 (SRN/DTS) (D. Minn.) filed
            on March 8, 2023;
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           Zahid v. Fortra LLC, Case No. 23-cv-00615 (SRN/DTS) (D. Minn.) filed on
            March 13, 2023; and

           Butts, et al. v. Fortra LLC, Case No. 23-cv-00636 (SRN/DTS) (D. Minn.)
            filed on March 15, 2023.

Plaintiffs also respectfully request the Court adjourn all deadlines for Defendant to file a

responsive pleading until Plaintiffs’ Court-appointed interim leadership has been ordered

by the Court, Plaintiffs’ interim leadership files a Consolidated Complaint, and an

appropriate responsive pleading schedule is established.

       This Motion is based upon the Memorandum of Law filed contemporaneously

herewith, and upon all files, records, and proceedings in this matter.


Dated: March 28, 2023                     /s/ Bryan L. Bleichner
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